       Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 1 of 22




         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

MARY MAYS,                     *
                               *
          Plaintiff,           *
                               *
      v.                       *                  1:19-CV-01152-ELR
                               *
INTERNATIONAL FOLLIES, INC.,   *
d/b/a CHEETAH et al.,          *
                               *
          Defendants.          *
                               *
                          _________

                                   ORDER
                                   _________

      Presently before the Court is Defendants’ Motion for Summary Judgment.

[Doc. 64]. The Court’s rulings and conclusions are set out below.

I.    Background

      This case involves Plaintiff Mary Mays’ claims against Defendants

International Follies, Inc. d/b/a Cheetah (“The Cheetah”), and Jack Braglia for

alleged violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201,

et seq. Compl. [Doc. 1]. Defendants operate an “upscale entertainment club”

located in Atlanta, Georgia, known as The Cheetah. Defs.’ Statement of Material

Facts ¶ 1 [Doc. 64-4] (“Defs.’ SOMF”). Defendant Braglia is, and was at the time

of Plaintiff’s employment, the general manager of The Cheetah. Id. ¶ 12. Plaintiff
        Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 2 of 22




worked at The Cheetah as an entertainer from April 8, 2016, through November 3,

2018, mostly working night shifts. Id. ¶¶ 2, 11.

      According to Defendants’ written tip policy, The Cheetah pays its female

entertainers the minimum wage of $7.25 per hour by paying a cash wage of $2.13

per hour and applying a tip credit of $5.12 per hour. Id. ¶¶ 3, 15. Additionally,

pursuant to the terms of the written tip policy, Plaintiff and other dancers would

contribute 10% of their total tips to floormen and disc jockeys as part of a tip-pooling

arrangement. Id. ¶¶ 15–16. Defendants contend this was the only mandatory tip-

sharing arrangement required by The Cheetah. Id. ¶ 17.

      However, Plaintiff disputes Defendants’ characterization of The Cheetah’s tip

policy and claims she was required to participate in an unlawful tip pool. Pl.’s Resp.

to Defs.’ Statement of Material Facts ¶¶ 15, 18 [Doc. 66-1] (“Pl.’s Resp. to Defs.’

SOMF”). She asserts that in addition to the 10% she gave to floormen and disc

jockeys—as mandated by the written policy—she participated in other unwritten

mandatory tipping. Pl.’s Statement of Material Facts ¶¶ 20–28 [Doc. 66-2] (“Pl.’s

SOMF”).     Plaintiff asserts she was required to give extra portions of her tips to

floormen as a “fee” when they “referred” a customer to her for a VIP dance session.

Id. ¶ 26. Plaintiff also contends that she had to share her tips with other staff not

included in the written tip policy, such as “housemoms” who received a portion of

each dancer’s tips at the end of every shift. Id. ¶ 27.


                                           2
         Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 3 of 22




       Moreover, beyond those payments, Plaintiff asserts she was required to pay

additional uncompensated fees—“kickbacks”—which caused her wages to drop

below minimum wage. [Doc. 66 at 12]. For example, Plaintiff had to pay for her

own mandatory adult entertainment work permit (as required by the City of Atlanta),

paid a $3 parking fee every time she worked at the club, and alleges she had to pay

other dancers approximately $40 to “cover” her shifts when necessary.1 [Id. at 13–

14]; Pl.’s SOMF ¶¶ 2, 5, 29. Plaintiff also maintains that in order to comply with

Defendants’ strict dress code policy, she typically paid “$60 each shift to have her

make-up and hair done” to be ready for work. [Doc. 66 at 14]. Plaintiff asserts that

she paid these costs and fees out of her tips and wages, and that these additional fees

caused her wages to drop below the minimum wage during the workweeks she had

to pay them. [Id.]

       Additionally, all dancers were subject to The Cheetah’s “waiting policy,”

which required entertainers to engage in check-out procedures and wait until all

customers had departed the premises before the dancers were permitted to leave.

Pl.’s SOMF ¶ 15. Plaintiff asserts that she typically waited at least thirty (30)

minutes every time her shift ended—time for which she was not compensated. Id.

¶ 17. Accordingly, Plaintiff accuses Defendants of violating the FLSA by failing to


1
 The City of Atlanta requires adult entertainers to maintain a city-issued permit from the Atlanta
Bureau of Police Services Permit Department, which is why The Cheetah requires its dancers to
have a permit. See Samantha Kim Dep. at 40: 9–21 [Doc. 64-15].

                                                3
         Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 4 of 22




pay minimum wage, failing to pay overtime wages, taking “kickbacks” in the form

of unlawful deductions, and by requiring Plaintiff to participate in unlawful tip-

pooling. [See generally Doc. 66].

       Defendants deny any wrongdoing, stressing that Plaintiff’s minimum wage

and overtime wage claims are not recoverable because she seeks compensation for

non-compensable preliminary and postliminary activities. [Doc. 64-1 at 4–12]. In

addition, Defendants argue that The Cheetah’s tip credit policy is valid and that none

of Plaintiff’s claims for additional payments are compensable under the FLSA. [Id.

at 12–23]. Finally, Defendants assert they are entitled to a good faith defense even

if the Court finds there was a FLSA violation. [Id. at 23–24]. Thus, Defendants

move for summary judgment on all of Plaintiff’s claims. 2 [Id. at 25]. Having been

fully briefed, Defendants’ motion is now ripe for the Court’s review.




2
  Additionally, Defendants have filed two (2) objections. [Docs. 68, 69]. In their first objection,
Defendants move to strike certain statements Plaintiff makes in her sworn declaration (the
“Declaration of Mary Mays”) [Doc. 66-3] as part of her “Response in Opposition to Defendants’
Motion for Summary Judgment.” [Doc. 68]. In their second objection, Defendants move to strike
the depositions Plaintiff submits in support of her response [Docs. 66-4 through 66-10], because
these depositions were taken in 2017 for prior, unrelated litigation, namely: Valente, et al. v. Int’l
Follies, Inc. d/b/a The Cheetah, No. 1:15-CV-02477-ELR (“Valente”). [Doc. 69]. Plaintiff did
not respond to Defendants’ objections, and thus, the Court treats Defendants’ objections as
unopposed. See LR 7.1(B), NDGa. (“Failure to file a response shall indicate that there is no
opposition[.]”). Accordingly, noting no opposition and for good cause shown, the Court grants
Defendants objections. [Docs. 68, 69.]. Thus, in resolving Defendants’ motion for summary
judgment, the Court does not consider certain paragraphs from Plaintiff’s declaration nor the
objected-to depositions.

                                                  4
        Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 5 of 22




II.    Legal Standard

       The Court may grant summary judgment only if the record shows “that there

is no genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.” FED. R. CIV. P. 56(a). A factual dispute is genuine if there is

sufficient evidence for a reasonable jury to return a verdict in favor of the

non-moving party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

A factual dispute is material if resolving the factual issue might change the suit’s

outcome pursuant to the governing law. Id. The motion should be granted only if

no rational fact finder could return a verdict in favor of the non-moving party. Id. at

249.

       When ruling on a motion for summary judgment, the Court must view all the

evidence in the record in the light most favorable to the non-moving party and

resolve all factual disputes in the non-moving party’s favor.         See Reeves v.

Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000). The moving party need

not positively disprove the opponent’s case; rather, the moving party must establish

the lack of evidentiary support for the non-moving party’s position. See Celotex

Corp. v. Catrett, 477 U.S. 317, 325 (1986). If the moving party meets this initial

burden, to survive summary judgment, the non-moving party must then present

competent evidence beyond the pleadings to show that there is a genuine issue for

trial. Id. at 324–26. The essential question is “whether the evidence presents a


                                          5
        Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 6 of 22




sufficient disagreement to require submission to a jury or whether it is so one-sided

that one party must prevail as a matter of law.” Anderson, 477 U.S. at 251–52.

III.   Discussion

       In her Complaint, Plaintiff brings three (3) counts against Defendants: Count

I—Minimum Wage Claim (Claims for Violation of 29 U.S.C. § 206); Count II—

Overtime Wage Claim (Violation of 29 U.S.C. § 207); Count III—Unlawful Taking

of Tips (Violation of 29 U.S.C. § 203). See Compl. Defendants argue that the

undisputed facts of this case foreclose Plaintiff’s claims for four (4) reasons: (1)

Plaintiff cannot recover overtime wages for any preliminary and postliminary time,

(2) Plaintiff cannot prevail on her claim for alleged violations of the FLSA’s tip

credit provisions, (3) Plaintiff cannot recover any of the “fees” she paid because they

are non-compensable, and (4) even if Defendants violated the FLSA’s tip credit

provisions, they are entitled to a good faith defense. [See Docs. 64-1, 70]. Thus,

Defendants contend that they are entitled to summary judgment. [Doc. 64-1]. The

Court discusses each of these issues in turn.

       A.    Plaintiffs Claim for Overtime Claim

       First, the Court turns to Plaintiff’s overtime wage claim regarding her pre-shift

and post-shift activities. See Compl. Plaintiff argues that Defendants failed to pay

earned overtime wages for the time she spent preparing for work and waiting after

work pursuant to The Cheetah’s “waiting policy.” Id. ¶¶ 103–104, 108; Pl.’s SOMF


                                           6
         Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 7 of 22




¶¶ 15–19. Defendants disagree, contending that Plaintiff cannot be compensated for

the time and money she spent “getting ready” for her shifts because pre-shift

preparation is preliminary work not covered by the FLSA.3 [Doc. 64-1 at 9–12].

Additionally, Defendants claim that they are not required to compensate Plaintiff for

any postliminary activities, including the time Plaintiff spent on post-shift check-out

procedures and waiting for customers to leave. [Id. at 16–17].

               1.     FLSA: Preliminary and Postliminary Activities

       The FLSA requires an employer to compensate any employee who works in

excess of forty (40) hours per week at an overtime rate (typically, one and one-half

times the employee’s regular pay rate). Allen v. Bd. of Pub. Educ. for Bibb Cty.,

495 F.3d 1306, 1314 (11th Cir. 2007) (citing 29 U.S.C. § 207(a)(1)). However,

pursuant to the Portal-to-Portal Act of 1947, employers are exempt from liability for

failure to compensate an employee for:

       (2) activities which are preliminary to or postliminary to [the
           employee’s] principal activity or activities,

       which occur either prior to the time of any particular workday at which
       such employee commences, or subsequent to the time on any particular
       workday at which he ceases, such principal activity or activities.




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  Moreover, Defendants claim that “entertainers clock in when they arrive even if they are getting
ready for work”—accordingly, Defendants assert that “Plaintiff was [already] compensated for
non-compensable preliminary time spent getting ready for work (including hair and makeup).”
[Doc. 64-1 at 9].

                                                7
        Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 8 of 22




29 U.S.C. § 254(a). Here, the term “principal activity or activities” includes “all

activities that are an ‘integral and indispensable part of the principal activities.’”

Llorca v. Sheriff, Collier Cty., 893 F.3d 1319, 1323 (11th Cir. 2018) (quoting Steiner

v. Mitchell, 350 U.S. 247, 256 (1956)). Thus, “preliminary and postliminary

activities are compensable only if they are both an integral and indispensable part of

the principal activities.” Id. at 1324 (emphasis in original) (internal citations

omitted).

      To determine which activities are integral and indispensable, the Eleventh

Circuit has explained that “indispensable is not synonymous with integral.” Id. at

1323 (internal marks and citation omitted). “The fact that certain preshift [and

postshift] activities are necessary for employees to engage in their principal

activities does not mean that those [] activities are ‘integral and indispensable’ to a

principal activity . . . .” Bonilla v. Baker Concrete Constr., Inc., 487 F.3d 1340, 1344

(11th Cir. 2007) (emphasis added) (internal marks and citation omitted). Therefore,

“[a]n activity is integral and indispensable to an employee’s principal activities if

the activity is an intrinsic element of those activities and one with which the

employee cannot dispense if [s]he is to perform the activities.” Meeks v. Pasco Cty.,

688 F. App’x 714, 717 (11th Cir. 2017) (internal marks and citation omitted).




                                           8
        Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 9 of 22




             2.     Analysis

      Having laid out the legal framework, the Court turns to its analysis on this

claim. As an initial matter, Plaintiff states in her Complaint that, in order to meet

The Cheetah’s “strict dress and appearance requirements,” she typically spent “an

excess of an hour per shift of time to get ready for work.” Compl. ¶ 103. Thus, she

claims she was entitled to compensation for that time.          Id. ¶¶ 104–105, 144.

However, in their motion, Defendants present evidence that Plaintiff did receive

compensation for “getting ready” for her shift because she was already clocked in at

the club during this time. [Doc. 64-1 at 9]. In her response, Plaintiff fails to present

any contrary evidence or make any other arguments as to why she was entitled to

payment for her pre-shift activities. [Doc. 66 at 4–9]. Plaintiff’s failure to respond

or provide contrary evidence constitutes abandonment of her overtime claim as it

relates to her pre-shift activities. See Grant v. Miami-Dade Cty., No. 13-22008-CIV,

2014 WL 7928394, at *9 (S.D. Fla. Dec. 11, 2014), aff’d sub nom., 636 F. App’x

462 (11th Cir. 2015) (“Where a [party] fails to respond to an argument in a motion

for summary judgment, [s]he waives the argument. Summary judgment [on that

issue] is appropriate.”). Thus, the Court finds that Defendants are entitled to

summary judgment on this point. Burnette v. Northside Hosp., 342 F. Supp. 2d

1128, 1140 (N.D. Ga. 2004) (“Failure to respond to the opposing party’s summary




                                           9
       Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 10 of 22




judgment arguments regarding a claim constitutes an abandonment of that claim and

warrants the entry of summary judgment for the opposing party.”).

      Consequently, Plaintiff’s only remaining overtime claim is for her post-shift

activities. Pursuant to The Cheetah’s “waiting policy,” Defendants required Plaintiff

to wait until all customers completely dispersed from the parking lot before allowing

Plaintiff to depart the premises. [Doc. 66 at 6]. Plaintiff seeks compensation for

that time. [Id.]

      Upon review, the Court finds that as a matter of law, Plaintiff is not entitled

to receive compensation for her post-shift activities. In making this determination,

the Court finds the Supreme Court’s decision in Integrity Staffing Sols., Inc. v. Busk

to be instructive. 574 U.S. 27, 33 (2014). In Integrity Staffing, an employer required

its warehouse employees to undergo anti-theft security screenings before leaving

work each day. Id. at 30. The warehouse employees sued the employer, arguing

that the time they spent awaiting and undergoing 66 at 6] these security screenings

was compensable overtime according to the FLSA. Id.

      The Supreme Court disagreed. Id. First, the Court reaffirmed the principle

that compensable activities (as contemplated by the FLSA) include those “activities

which are an integral and indispensable part of the principal activities.” Id. at 33

(internal marks and citations omitted). As the Court explained, “an activity is

integral and indispensable to the principal activities that an employee is employed


                                         10
       Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 11 of 22




to perform—and thus compensable under the FLSA—if it is an intrinsic element of

those activities and one with which the employee cannot dispense if he is to perform

his principal activities.” Id. at 37. Using this framework, the Court determined the

mandatory security screenings were not integral and indispensable to the principal

work the warehouse employees were required to perform because their “principal

work” was retrieving products from warehouse shelves and packaging those

products for shipment. Id. at 35. The Court held that the employer “could have

eliminated the screenings altogether without impairing the employee’s ability to

complete their work.” Id. Therefore, the time the employees spent during the

security screenings was not compensable. Id.

      In light of this precedent, the Court finds that completing check-out

procedures and waiting for customers to vacate the premises were not integral and

indispensable to the principal activity Plaintiff was employed to perform. Plaintiff

was hired to dance and entertain customers; these post-shift requirements were not

“intrinsic element[s]” of those principal activities. See Integrity Staffing, 574 U.S.

at 39 (Sotomayor, J., concurring) (explaining that 29 U.S.C. § 254(a) “distinguishes

between activities that are essentially part of the ingress and egress process, on the

one hand, and activities that constitute the actual ‘work of consequence performed

for an employer,’ on the other hand”). Because these activities could have been

eliminated without impairing Plaintiff’s ability to complete her work, they were not


                                         11
       Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 12 of 22




integral and indispensable to Plaintiff’s employment. Id. at 35. Thus, the time

associated with these activities is non-compensable pursuant to the FLSA.

      Nevertheless, Plaintiff argues she should be compensated because Defendants

required her to wait for an undetermined period after every night shift. [Doc. 66 at

9]. But the Court finds Plaintiff’s reliance on her employer’s requirements to be

misguided. As explained above, the focus of the integral and indispensable test is

on “the productive work that the employee is employed to perform,” not “on whether

an employer required a particular activity.” Integrity Staffing, 574 U.S. at 36

(emphasis in original) (internal citations omitted).     As such, Plaintiff’s claim

regarding overtime wages for post-shift activities fails, and Defendants are entitled

to summary judgment on this issue.

      B.     Plaintiff’s Tip Credit Claim

      Next, the Court turns to Plaintiff’s claim regarding FLSA’s tip credit policy.

Plaintiff claims that Defendants required her to participate in forced tip-outs and

forced covers, which caused her wages to fall below minimum wage. [Doc. 66 at

10–12]. Further, Plaintiff alleges that two (2) tip policies—a written tip policy and

an unwritten but equally mandatory tip policy—were both unlawfully enforced at

The Cheetah in violation of the FLSA. [Id.] In their motion for summary judgment,

Defendants argue the contrary—that The Cheetah’s tip credit policy is valid and no

unlawful tipping occurred. [Doc. 64-1 at 12–21]. The Court first sets out the legal


                                         12
       Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 13 of 22




framework regarding FLSA tip credits before turning to an assessment of the Parties’

arguments.

             1.     FLSA: Tip Credit Provision

      As noted above, the FLSA requires employers to pay employees a minimum

wage of $7.25 per hour. 29 U.S.C. § 206(a)(1). Recognizing that many employees

earn income through tips, the “tip credit” provision of the FLSA allows employers to

incorporate employees’ tips into their wage calculation to satisfy the minimum wage

requirement, provided that certain conditions are met. 29 U.S.C. § 203(m)(2)(A).

The statute sets forth two (2) requirements for employers who avail themselves of

the tip credit policy:

      The additional amount on account of tips may not exceed the value of
      the tips actually received by an employee. The [tip credit] shall not
      apply with respect to any tipped employee unless [1] such employee
      has been informed by the employer of the provisions of this subsection,
      and [2] all tips received by such employee have been retained by the
      employee, except that this subsection shall not be construed to prohibit
      the pooling of tips among employees who customarily and regularly
      receive tips.

Id. In other words, for a tip credit policy to be valid: (1) the employer must give

employees notice of the tip credit policy, and (2) employees must retain all tips

received—except where the employer requires the employees to participate in

tip-pooling to redistribute a portion of their tips to other employees who

“customarily and regularly receive tips.” Id.



                                         13
         Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 14 of 22




      Prior to March 23, 2018, only employers were prohibited from participating

in a tip pool. Cf. Kubiak v. S.W. Cowboy, Inc., 164 F. Supp. 3d 1344, 1361–62

(M.D. Fla. 2016) (“[S]ection 203(m) effectively prohibits any arrangement or

agreement between an employer and employee whereby any portion of the

employee’s tips becomes the property of the employer.”). However, after March 23,

2018, 29 U.S.C. § 203(m) was modified to prohibit managers and supervisors from

participating in a tip pool. See 29 U.S.C. § 203(m)(B) (“An employer may not keep

tips received by its employees for any purposes, including allowing managers or

supervisors to keep any portion of employees’ tips regardless of whether or not the

employer takes a tip credit.”) (effective March 23, 2018); see also Miller v.

Garibaldi’s Inc., No. CV414-007, 2018 WL 1567856, at *4 (S.D. Ga. Mar. 30,

2018).

              2.    Analysis

      The Court now turns to an assessment of the Parties’ arguments.           As

mentioned above, for a tip credit policy to be valid: (1) the employer must give

employees notice of the tip credit policy, and (2) employees must retain all tips

received—except where the employer requires the employees to participate in tip

pooling to redistribute a portion of their tips to other employees who “customarily

and regularly receive tips.” See 29 U.S.C. § 203(m)(2)(A). Here, Plaintiff argues

that Defendants violate the second condition of 29 U.S.C. § 203(m)(2)(A), because


                                        14
       Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 15 of 22




Plaintiff was forced to participate in a tip pool with management, supervisors, and

employees who did not “customarily or regularly receive tips.” [Doc. 66 at 10–12].

      The Cheetah’s written tip policy for dancers stated:

      You are required to contribute 10% of your total tips to floor managers
      and disc jockeys (collectively) as part of a tip-pooling arrangement. No
      other mandatory tipping is required. With the exception of any lawful
      contributions to a tip pool that you may be required to make, the
      applicable law requires that you be allowed to retain all of your
      remaining tips. Management will not retain any of your tips.

[See Doc. 64-10]. Although the tip policy stated that “management will not retain

any of your tips,” Plaintiff contends she was forced to share her tips with Robert

(“Bob”) Johnson, a floorman who also served as a night manager, as well as

Samantha Kim, a day shift manager. Thus, Plaintiff argues The Cheetah’s tip pool

was invalid. [Doc. 66 at 11]. In addition, Plaintiff contends that the participation of

the floormen, disc jockeys, and “housemoms” in the tip pool was unlawful because

they were not “regularly tipped” employees. [Id. at 12]. Thus, Plaintiff claims she

is entitled to damages.

      The Court will first address the validity of The Cheetah’s tip credit policy in

light of how the tip pool operated with regards to Bob Johnson and Samantha Kim.

Next, the Court will assess whether floormen, disc jockeys, and “housemoms” were

“regularly tipped” employees.




                                          15
       Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 16 of 22




                   a.      Bob Johnson

      The Court begins by addressing the Parties’ arguments regarding Bob

Johnson’s participation in the tip pool. In their motion, Defendants divide their

arguments regarding Bob Johnson into two parts: (1) Johnson’s participation in the

tip pool pre-March 23, 2018, and (2) Johnson’s participation in the tip pool post-

March 23, 2018.

      Defendant argues that prior to March 23, 2018, only employers were

prohibited from participating in a tip pool, and Johnson was not an employer

pursuant to FLSA. [Doc. 64-1 at 18–20]. Because Johnson was not an employer as

defined by the FLSA, Defendants argue that Johnson’s participation in the tip pool

was valid until March 23, 2018. [Id.] In her response, Plaintiff offers no arguments

or evidence to rebut Defendants’ arguments and evidence that Bob Johnson was not

an employer as defined by the FLSA. [See Doc. 66 at 11]. Thus, the Court finds

that Johnson’s participation in the tip pool, up until March 23, 2018, was valid.

Therefore, Defendants are entitled to summary judgment on this point. See Burnette,

342 F. Supp. 2d at 1140.

      As for Johnson’s participation in the tip pool post-March 23, 2018,

Defendants argue that although Johnson was called a “night manager,” he did not

qualify as a manager or supervisor according to the FLSA definitions. Specifically,

Defendants argue that an employee is only a manager or supervisor for the purposes


                                         16
         Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 17 of 22




of 29 U.S.C. § 203(m) where he is “[c]ompensated on a salary basis pursuant to [a

set rate].” [64-1 at 21] (citing 29 C.F.R. § 541.100(a)). Defendants present evidence

that until June or July 2018, Johnson was paid an hourly wage and was not a salaried

employee. Bob Johnson Dep. at 8:8–18, 9:10–25 [Doc. 64-14]. Once Johnson began

receiving a salary, he stopped participating in the tip pool.                   Id. at 9:10–25.

Additionally, Defendants proffer evidence that Johnson did not have any managerial

duties until he became a salaried employee. Id. at 22:7–19.

         Plaintiff disagrees and argues that Johnson served as a manager and

supervisor. [Doc. 66 at 10–11]. However, Plaintiff provides no valid evidence on

the record to dispute Defendants’ evidence.4                Because Plaintiff fails to rebut

Defendants’ evidence, no genuine issue of material fact exists, and the Court finds

that Defendants are entitled to summary judgment on this point. See FED. R. CIV. P.

56(c).

                       b.     Samantha Kim

         Next, the Court turns to the Parties’ arguments regarding Samantha Kim, a

day shift manager and “housemom” at The Cheetah. See Pl.’s SOMF ¶ 52.



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  As noted above, the Court disregards portions of Plaintiff’s declaration and the depositions she
submitted to support her response because she failed to respond to Defendants’ objections. See
supra n.2. Plaintiff proffers deposition testimony from a 2015 case brought against The Cheetah,
Valente, which concerned employment practices at The Cheetah during a timeframe earlier than
that implicated by the matter at hand. Id. Thus, even if the Court were to consider the deposition
testimony Plaintiff propounds, Plaintiff has failed to explain why such evidence is relevant to this
case. [See generally Doc. 66].

                                                17
       Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 18 of 22




Defendants argue that they are entitled to summary judgment on this point because,

as a “housemom,” Samantha Kim was not included in the mandatory tip pool. [Doc.

70 at 6]. They provide further evidence that any tips Kim received were voluntarily

shared. [Id.]; see also Kubiak, 164 F. Supp. 3d at 1355 (stating that “a tipped

employee may voluntarily choose to share tips with an otherwise ineligible

employee so long as that tip-sharing is done without coercion by the employer”).

Plaintiff again fails to provide any relevant evidence on the record to dispute

Defendants’ argument. [See Doc. 66]. In the absence of evidence to the contrary,

the Court finds that Defendants are entitled to summary judgment on this point.

                   c.    Floormen, Disc Jockeys, and “Housemoms”

      Finally, the Court turns to the Parties’ arguments regarding the participation

of “all other” floormen, disc jockeys, and “housemoms” in the mandatory tip pool.

Pursuant to the FLSA, a tip pool can only be shared among employees who

customarily and regularly receive tips. 29 U.S.C. § 203(m). According to 29 C.F.R.

§ 531.50, the receipt of $30 or more in tips a month establishes that an employee

customarily and regularly receives tips. 29 C.F.R. § 531.50.

      Here, Plaintiff argues that Defendants fail to demonstrate that “all of the

floormen, housemoms and disc jockeys with whom Mays shared her tips customarily

and regularly receive at least $30 per month in tips.” [Doc. 66 at 11–12]. However,




                                        18
        Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 19 of 22




as before, Plaintiff fails to cite to valid evidence to support her claim. [See id. at

12].

       On the other hand, Defendants provide valid evidence and testimony that

floormen and disc jockeys were regularly tipped employees. [See Doc. 64-1 at 14–

17]. Additionally, the evidence on the record demonstrates that “housemoms” were

not included in The Cheetah’s mandatory tip policy, and even vocally upset they

were excluded from the policy. Mary Mays Dep. at 52:22–55:15 [Doc. 64-12].

Because Plaintiff fails to provide valid contrary evidence, the Court finds that

Defendants are entitled to summary judgment on this point.

       In sum, the Court finds that Defendants are entitled to summary judgment on

the entirety of Plaintiff’s tip credit claim.

       C.      Plaintiff’s “Kickback” Claim

       The Court now turns to Plaintiff’s “kickback” claim. Pursuant to the FLSA,

employers must pay employees their wages “finally and unconditionally,” “free and

clear” of any direct or indirect “kickbacks.” 29 C.F.R. § 531.35; 5 see also Arriaga

v. Fla. Pac. Farms, L.L.C., 305 F.3d 1228, 1241 (11th Cir. 2002) (“The FLSA




5
  29 C.F.R. § 531.35 states, in relevant part, that “‘wages’ cannot be considered to have been paid
by the employer and received by the employee unless they are paid finally and unconditionally or
‘free and clear.’” Additionally, “[t]he wage requirements of the [FLSA] will not be met where the
employee ‘kicks back’ directly or indirectly to the employer or to another person for the
employer’s benefit the whole or part of the wage delivered to the employee.” Id.

                                                19
       Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 20 of 22




prevents improper deductions from reducing the wages of a worker below the

minimum wage.”).

      Here, Plaintiff claims the various expenses she incurred in furtherance of her

employment constituted fees that were “either kicked back to the employer [] or for

the employer[’]s benefit.” [Doc. 66 at 12] (citing De Leon-Granados v. Eller & Sons

Trees, Inc., 581 F. Supp. 2d 1295, 1315 (N.D. Ga. 2008) (explaining that “requiring

employees to pay for expenses incurred for the benefit of the employer functions as

a de facto wage deduction”)). According to Plaintiff, these fees included:

          • “a ‘cover’ of at least $40 per shift;”

          • “an annual permit of at least $250;”

          • “parking fees of at least $3 per shift;”

          • “hair and make-up fees of at least $60 per shift;”

          • “a 10% VIP referral fee on almost a nightly basis;” and

          • “a housemom tip-out of at least $10 per shift.”

[Id. at 13]. Plaintiff asserts each time she incurred one of these fees, it caused her

wages to impermissibly drop below the legal minimum wage.

      However, the Court disagrees. As an initial matter, the Court finds that

Plaintiff’s claims for compensation regarding payments to makeup artists, hair

stylists, and “housemoms” are impermissible because Plaintiff did not include these

allegations in her Complaint, instead raising these allegations for the first time in her

                                           20
        Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 21 of 22




response to Defendants’ motion for summary judgment. See Hurlbert v. St. Mary’s

Health Care Sys., Inc., 439 F.3d 1286, 1297 (11th Cir. 2006) (requiring the plaintiff

to amend the complaint before raising a claim at summary judgment); Gilmour v.

Gates, McDonald & Co., 382 F.3d 1312, 1315 (11th Cir. 2004) (“A plaintiff may

not amend her complaint through argument in a brief opposing summary

judgment.”). Accordingly, the Court will not consider these claims.

       As for Plaintiff’s claims regarding the other alleged “kickbacks” (specifically,

her payments for parking, VIP referrals, “cover” fees, and the City of Atlanta adult

entertainment permit), the Court finds that summary judgment in favor of

Defendants is appropriate for two (2) reasons. First, in her response, Plaintiff fails

to specifically articulate how these payments were “expenses incurred for the benefit

of the employer.”6 [Doc. 66 at 11–12]. Second, Defendants provide evidence that

The Cheetah did not require entertainers to pay cover fees to one another and

expressly told entertainers that no other mandatory tipping—besides the 10% for the

tip pool—was required. 7 [Doc. 70 at 13]. Plaintiff provides no valid evidence to the




6
  As Plaintiff concedes, the parking deck she used was managed by a valet company that is “totally
separate” from Defendants and sets the amount for parking fees. [Doc. 66-1 ¶ 88]. Additionally,
Plaintiff does not cite to any employer policy requiring entertainers to use the parking deck. [Doc.
66 at 11–12]. Finally, the Plaintiff does not provide any authority to support her claim that
Defendants should bear the cost of adult entertainer permits for its dancers, and the Court locates
no such requirement. [Id.]
7
  Additionally, Plaintiff offers no explanation or evidence to support her calculation that she was
required to pay $40 in cover fees. [Doc. 66 at 12–13].

                                                21
         Case 1:19-cv-01152-ELR Document 81 Filed 09/25/20 Page 22 of 22




contrary. Thus, the Court finds that Defendants are entitled to summary judgment

on Plaintiff’s “kickback” claim.

      In sum, Defendants are entitled to summary judgment on all Plaintiff’s claims.

Therefore, the Court grants Defendants’ Motion for Summary Judgment. [Doc. 64].

   IV.     Conclusion

      For the foregoing reasons, the Court GRANTS Defendants’ Motion for

Summary Judgment [Doc. 64] and DIRECTS the Clerk to ENTER JUDGMENT

in favor of Defendants. The Court further DIRECTS the Clerk to CLOSE this case.

      SO ORDERED, this 25th day of September, 2020.



                                             ______________________
                                             Eleanor L. Ross
                                             United States District Judge
                                             Northern District of Georgia




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